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              1IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JEFFREY KRUG,                                      No. 4:18-CV-01669

             Plaintiff,                            (Judge Brann)

     v.

BLOOMSBURG UNIVERSITY,
et al.,

            Defendants.

                                     ORDER

                                 AUGUST 1, 2019

     Upon consideration of Defendants’ Motion for Protective Order, ECF No.

49, and Plaintiff’s Cross-Motion to Compel, ECF No. 51, IT HEREBY

ORDERED as follows:

     1. Because Federal Rule of Civil Procedure 26(c) empowers this Court to

          issue protective orders for good cause shown to “protect a party or person

          from annoyance, embarrassment, oppression, or undue burden or

          expense,” and because Defendants’ have demonstrated such good cause

          exists to prevent public disclosure of personnel files and internal

          investigatory documents of employees of Bloomsburg University and/or

          the Pennsylvania State System of Higher Education, see, e.g., Upshaw v.

          Janssen Research & Development, LLC, No. 11–7574, 2014 WL
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  1244047, at *3 (E.D.Pa. Mar. 26, 2014); Jones v. DeRosa, 238 F.R.D.

  157, 163-64 (D.N.J. 2006), Defendants’ Motion for Protective Order,

  ECF No. 49, is GRANTED. Personnel files and internal investigatory

  documents produced by Defendants in the course of this litigation

  SHALL REMAIN CONFIDENTIAL and SHALL NOT BE USED

  OUTSIDE THE SCOPE OF THIS LITIGATION.

2. Plaintiff’s Cross-Motion to Compel, ECF No. 51, is GRANTED IN

  PART.    Defendants, in accordance with their obligations under the

  Federal Rules of Civil Procedure and subject to the confidentiality

  imposed by Order, SHALL PRODUCE the documents that have been

  requested by Plaintiff and SHALL PRODUCE a revised privilege log.

  Plaintiff’s Cross-Motion to Compel is otherwise DENIED.




                                    BY THE COURT:


                                    s/ Matthew W. Brann
                                    Matthew W. Brann
                                    United States District Judge




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